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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                        Plaintiff,

vs.                                                                     Cause No. 1:19-cr-03113-JB


ROBERT PADILLA, et al.,

                        Defendants.

             AMENDED JOINT MOTION TO CONTINUE TRIAL AND
          MOTION TO EXTEND TIME TO FILE OR RESPOND TO MOTIONS

        Defendant Robert Padilla (“Mr. Padilla”), by and through counsel, Romero & Winder, PC

(Joe M. Romero, Jr.), respectfully files this Amended Motion requesting the Court to continue the

trial currently set for January 31, 2022, for ninety (90) days, and to grant a corresponding extension

to file or respond to motions. As grounds for this motion, the parties state the following:

                                 PROCEDURAL BACKGROUND

        On January 20, 2022, Defendant Padilla filed an Unopposed Motion to Continue Trial and

Motion to Extend Time to File or Respond to Motions (Doc. 634). By way of this Amended Joint

Motion to Continue Trial, the parties inform the Court that the pending request to continue the trial

in this case is now a joint request by all parties. Consequently, Defendants Robert Padilla, Johnathan

Vigil, Ashley Romero, Genevive Atencio, and Janaya Atencio by and through their respective Counsel

of record, and the United States, by and through Assistant United States Attorney Elaine Y. Ramirez,

hereby respectfully submit this motion as a joint motion to continue the current trial setting.

                                     FACTUAL BACKGROUND

        On September 11, 2019, a grand jury returned a 19-count Indictment charging all 12

Defendants with conspiracy to commit distribution of controlled substances. See Indictment,
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Count 1 [Doc. 2]. Each Defendant is also charged in one or more of the other 18 counts. Id. at

Counts 2-19.

       A Jury Trial of this matter is currently set for January 31, 2022.

       Defendants respectfully requests a continuance to compete several tasks that are vital to

the defense. Specifically, Defendants request an additional ninety days from the current setting

to complete the task of summarizing and outlining the voluminous discovery in this case in

preparation, if need be, for trial. Additionally, Defendants require time to prepare for pending

pre-trial motion hearings, and to continue to pursue ongoing plea negotiations with the

government. Ninety days is the minimum amount of time that is required to conduct such

discussions and set this matter for a change of plea hearing, if a resolution is reached.

       A continuance is necessary for counsel to complete the following tasks:

       a. Review and summarize voluminous discovery and complete an investigation.

       b. Continue ongoing plea negotiations with the government.

       c. If a resolution is not reached, then additional time will be necessary to prepare to argue

pending pretrial motions, motions in limine, and prepare for trial.

       Defendants request a continuance of the trial of no less than 90 days from the current

setting. Counsel believes that length of time to be the minimum that will be sufficient to

complete plea negotiations in this case.

       Defendants right to the effective assistance of counsel includes adequate time to prepare

for trial. Without that adequate time to prepare for trial, Defendants will be denied their right to

the effective assistance of counsel. As the Eleventh Circuit has recognized,

Implicit in this right to counsel is the notion of adequate time for counsel to prepare the defense:



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       Disposition of a request for continuance . . . is made in the discretion of the trial
       judge, the exercise of which will ordinarily not be reviewed. But the denial of
       opportunity for appointed counsel to consult with the accused and to prepare his
       defense, could convert the appointment of counsel into a sham and nothing more
       than a formal compliance with the Constitution’s requirement that an accused be
       given the assistance of counsel. The Constitution’s guarantee of assistance of
       counsel cannot be satisfied by mere formal appointment.

United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995) (quoting Avery v. Alabama, 308

U.S. 444, 446, 60 S.Ct. 321, 322 (1940).

       Defendants agree with this continuance and will not be prejudiced by this continuance.

Additional time will not prejudice Defendants and will permit them additional time to further

investigate this case, to prepare for pretrial motion hearings, and to prepare for trial.

Additionally, a continuance will potentially allow him to reach a favorable resolution with the

government. Counsel has discussed with Defendants their rights under the Speedy Trial Act and

Defendants understand the need for a continuance and respectfully requests that the court

continue the trial setting for the ninety days requested by counsel.

       Undersigned counsel affirmatively states that the ends of justice will be served by

granting this extension of time in which to file motions and a continuance of the trial. See United

States v. Hernandez-Mejia, 406 Fed. App’x. 330, 338 (10th Cir. 2011) (“The Speedy Trial Act

was intended not only to protect the interests of defendants, but was also ‘designed with the

public interest firmly in mind.’”) (quoting United States v. Toombs, 574 F.3d 1262, 1273 (10th

Cir. 2009)). A continuance of the deadlines and jury trial in this matter will provide Defendants

time to continue his ongoing review of discovery, pursue any investigation, and assess the

viability of any defenses. Additionally, a continuance will permit the parties time to discuss a

possible negotiated resolution of this matter. Such a negotiated resolution would conserve

judicial and prosecutorial resources and could also materially benefit Defendants by providing an

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opportunity for a more favorable resolution of this matter. This motion is not predicated upon the

congestion of the Court’s docket.

       Counsel for the government, AUSA Elaine Y. Ramirez joins this motion.

       Counsel for Defendant Jonathan Vigil (Wayne Baker, Esq.), counsel for Defendant

Ashley Romero (Gregory Acton, Esq.), counsel for Defendant Genevieve Atencio (B.J. Crow,

Esq.) and counsel for Defendant Janaya Atencio, (Megan Mitsunaga, Esq.) join this motion.

       WHEREFORE, Defendants and the United States respectfully request that this Court

continue the current trial setting as requested and grant a corresponding extension of motions

deadlines as set forth above.



                                                    Respectfully Submitted,

                                             By:    /s/ Joe M. Romero, Jr.
                                                    Joe M. Romero, Jr.
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                                      Certificate of Service

       I hereby certify that the foregoing pleading was filed electronically pursuant to CM/ECF
procedures for the District of New Mexico, which caused the parties and/or their counsel to be
served by electronic transmission, as more fully reflected by the Notice of Electronic Filing.

/s/ Joe M. Romero, Jr.
Joe M. Romero, Jr.



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